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12
13                            UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
15                                  EASTERN DIVISION
16
17   STONEFIRE GRILL, INC.,                   )   CASE NO. CV 11-8292-JGB (PJWx)
     a California corporation,                )
18                                            )   DEFENDANT FGF BRANDS,
                 Plaintiff,                   )   INC.’S MEMORANDUM OF
19                                            )   CONTENTIONS OF FACT AND
           vs.                                )   LAW
20                                            )
     FGF BRANDS, INC., a Canadian             )
21   corporation, doing business as           )
     STONEFIRE AUTHENTIC                      )   Date:        September 30, 2013
22   FLATBREADS,                              )   Time:        11:00 a.m.
                                              )   Courtroom:   Riverside - 1
23               Defendant.                   )   Trial:       October 22, 2013
                                              )
24                                            )
                                              )   Hon. Jesus G. Bernal
25                                            )
                                              )
26                                            )
                                              )
27                                            )
                                              )
28
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 1          Defendant and Counterclaim Plaintiff FGF Brands, Inc. (“FGF Brands”) hereby
 2   submits the following Memorandum of Contentions of Fact and Law pursuant to the
 3   Court’s June 19 Order Granting the Parties’ Joint Stipulation to Reschedule the
 4   Pretrial Conference and Trial Date (Dkt. No. 82) and Local Rule 16.1
 5   I.  SUMMARY STATEMENT OF CLAIMS FGF BRANDS HAS PLEADED
     AND PLANS TO PURSUE
 6
            In conformance with Local Rule 16-4.1(d), a summary statement of the
 7
     counterclaim that FGF Brands has pleaded and plans to pursue follows. FGF Brands
 8
     plans to pursue the following counterclaim as pleaded in its Answer to Plaintiff’s First
 9
     Amended Complaint for Damages and Other Relief (Dkt. No. 32):
10
            A.      Cancellation of SGI’s Federal Marks
11
            To obtain a federal trademark registration, a party must use its mark in
12
     interstate commerce. See Trademark Manual of Examining Procedure § 901, 901.1.
13
     While a party may file an application based on an “intent to use,” id. at § 901, the
14
     applicant must actually use the mark in interstate commerce on or in connection with
15
     the goods and services as specified in the application and file an allegation of use
16
     before a registration will issue. Id. The term “use in commerce” means “the bona fide
17
     use of a mark in the ordinary course of trade, and not made merely to reserve a right in
18
     a mark” and a mark is deemed to be used in commerce “on services when it is used or
19
     displayed in the sale or advertising of services and the services are rendered in
20
     commerce, or the services are rendered in more than one State or in the United States
21
     and a foreign country and the person rendering the services is engaged in commerce in
22
     connection with the services.” 15 U.S.C. § 1127 (2006).
23
            Because Stonefire Grill, Inc. (“SGI” or “Plaintiff”) was not using its “Stonefire
24
     Grill” marks in interstate commerce at any time prior to the issuance of Registration
25
26   1
      The only remaining claim in this action is FGF Brands’ counterclaim for cancellation of Plaintiff’s
27   federally registered trademarks. The parties have stipulated to stay that counterclaim pending
     Plaintiff’s appeal of the Court’s ruling on summary judgment. Because the Court has not yet ruled
28   on that stipulation, FGF Brands is filing this exhibit list as required by the Court’s prior scheduling
     order. FGF Brands expressly reserves the right to supplement its factual and legal contentions.

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 1   Nos. 2,880,327; 3,716,351; and 3,716,355 the registration are void ab initio as a
 2   matter of law and should be cancelled. See Aycock Eng’g., Inc. v. Airflite, Inc., 560
 3   F.3d 1350, 1357-60 (Fed. Cir. 2009) (registration of mark that does not meet interstate
 4   commerce use requirement is void ab initio); Premier Pool Mgmt. Corp. v. Lusk, No.
 5   S–11–2896 GEB CKD, 2012 WL 1593206, at *6 (E.D. Cal. May 4, 2012) (finding
 6   federal registration was subject to cancellation where mark was used only in intrastate
 7   commerce at the time of registration).
 8   II.   ELEMENTS REQUIRED TO ESTABLISH FGF BRANDS’ CLAIM
 9         In conformance with Local Rule 16.4-1(e), the elements required to establish
10   FGF Brands’ Counterclaim are as follows:
11         A.      Cancellation of SGI’s Federal Marks
12         To prove its counterclaim of declaratory relief cancelling SGI’s federal marks
13   as void ab initio for lack of use in interstate commerce, FGF Brands must prove by a
14   preponderance of the evidence that:
15              1. SGI did not make use of its federal mark with Registration No. 2,880,327
16                 in interstate commerce before August 31, 2004.
17              2. SGI did not make use of its federal mark with Registration No. 3,716,251
18                 in interstate commerce before November 24, 2009.
19              3. SGI did not make use of its federal mark with Registration No. 3,716,355
20                 in interstate commerce before November 24, 2009.
21   Aycock Eng’g., 560 F.3d at1357-61; Premier Pool, No. S–11–2896 GEB CKD, 2012
22   WL 1593206, at *6.
23   III. BRIEF DESCRIPTION OF KEY EVIDENCE SUPPORTING FGF
     BRANDS’ COUNTERCLAIM
24
           In conformance with Local Rule 16-4.1(f), FGF Brands provides a brief
25
     description of the key evidence in support of its counterclaim.
26
           A.      Cancellation of SGI’s Federal Marks
27
           The key evidence in support of FGF Brands’ counterclaim for cancellation of
28

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 1   SGI’s federal marks includes:
 2              1. Documents from the Patent & Trademark Office concerning SGI’s
 3                 federal trademarks (Reg. No. 2,880,327; Reg. No. 3,716,351; Reg. No.
 4                 3,716,355), including registrations and Statements of Use.
 5              2. Testimony of Justin Lopez (as percipient witness and corporate
 6                 representative).
 7              3. Documents and information relating to the corporate structure and history
 8                 of Plaintiff and its predecessor corporation (Wildfire Grill, Inc.).
 9              4. Testimony of Mary Harrigan (as percipient witness).
10              5. Testimony of Kaduri Shemtov (as percipient witness).
11              6. SGI’s advertising (all local in nature) that predates November 2009.
12   IV.   SUMMARY STATEMENT OF SGI’S AFFIRMATIVE DEFENSES
13         As required by Local Rule 16-4.1(d), below is a summary statement of the
14   affirmative defenses SGI has pleaded.
15         Plaintiff and Counterclaim Defendant pled the following affirmative defenses:
16              1. Unclean Hands;
17              2. Estoppel;
18              3. No Standing;
19              4. Valid Trademarks;
20              5. Laches;
21              6. Statute of Limitations; and
22              7. Fraud
23   V.  ELEMENTS REQUIRED TO ESTABLISH SGI’S AFFIRMATIVE
     DEFENSES
24
           As required by Local Rule 16.4-1(e), below are the elements required to
25
     establish SGI’s affirmative defenses applicable to FGF Brands’ pending counterclaim.
26
           A.      Unclean Hands
27
           To prevail on its defense of unclean hands, SGI must prove by a preponderance
28

                                                  3
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 1   of the evidence that:
 2              1. FGF Brands engaged in unconscionable and prejudicial conduct that was
 3                 directly and intimately connected with its claim;
 4              2. The misconduct which brings the clean hands doctrine into operation
 5                 must relate directly to the transaction concerning which the complaint is
 6                 made, i.e., it must pertain to the very subject matter involved and affect
 7                 the equitable relations between the litigants.
 8   Fibreboard Paper Prods. Corp. v. East Bay Union of Machinists, 227 Cal. App. 2d
 9   675, 727–28 (Cal. Ct. App. 1964). The equitable defense of unclean hands should be
10   determined by the Court, not the jury. See Cal-Agrex, Inc. v. Tassell, No. 09–15998,
11   2011 WL 52478, at *61 (9th Cir. Jan. 7, 2011) (“The application or rejection of the
12   clean hands doctrine in a given case is equitable in nature and within the discretion of
13   the trial court.”) (citing Wash. Capitols Basketball Club, Inc. v. Barry, 419 F.2d 472,
14   478 (9th Cir. 1969)).
15         “[T]he doctrine of unclean hands is invoked when one seeking relief in equity
16   has violated conscience, good faith or other equitable principles in his prior conduct.”
17   Fibreboard Paper Prods., 227 Cal. App. 2d at 727.
18         SGI has articulated no basis for this affirmative defense, and FGF Brands
19   knows of none.
20         B.      Estoppel
21         To prevail on its defense of estoppel, SGI must prove by a preponderance of the
22   evidence that:
23              1. FGF Brands is apprised of the facts;
24              2. FGF Brands intended that its conduct be acted upon, or acted so that SGI
25                 had a right to believe it was so intended;
26              3. SGI is ignorant of the true state of facts; and
27              4. SGI relied on FGF Brands’ conduct to its injury.
28   Driscoll v. City of Los Angeles, 67 Cal. 2d 297, 305 (1967) (in bank). The existence

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 1   of estoppel is generally a question of fact for the trial court. Id. (citing Albers v.
 2   County of Los Angeles, 62 Cal. 2d 250, 266 (1965)).
 3          SGI has articulated no basis for this affirmative defense, and FGF Brands
 4   knows of none.
 5          C.      No Standing
 6          To prevail on its defense of estoppel, SGI must prove by a preponderance of the
 7   evidence that:
 8               1. FGF Brands is not a real party in interest because it does not possess the
 9                  right sued upon by reason of the substantive law.
10   Killian v. Millard, 279 Cal. Rptr. 877, 879 (Cal. Ct. App. 1991).
11          SGI has articulated no basis for this affirmative defense, and FGF Brands
12   knows of none.
13          D.      Valid Trademarks
14          To prevail on its defense of valid trademarks, SGI must prove by a
15   preponderance of the evidence that:
16               1. SGI made use of its federal marks in interstate commerce before their
17                  respective registration dates.
18   The validity of SGI’s federal marks is the very crux of the factual dispute between the
19   parties.
20          E.      Laches
21          To prevail on its defense of laches, SGI must prove by a preponderance of the
22   evidence that:
23               1. FGF Brands delayed filing suit for an unreasonable and inexcusable
24                  length of time from the time FGF Brands knew or reasonably should
25                  have known of its claim against SGI; and
26               2. The delay operated to the prejudice or injury of SGI.
27   Katz v. Time Warner Cable Inc., 712 F. Supp. 2d 1080, 1109, 1112 (C.D. Cal. 2010)
28   (granting summary judgment of no laches for failure to prove evidentiary and

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 1   economic prejudice), vacated in part on other grounds, 639 F.3d 1303 (Fed. Cir.
 2   2011). The application of the defense of laches is committed to the sound discretion
 3   of the district court. In re Beaty, 306 F.3d 914, 921 (9th Cir. 2002).
 4         SGI has articulated no basis for this affirmative defense, and FGF Brands
 5   knows of none.
 6         F.      Statute of Limitations
 7         SGI contends that FGF Brands’ counterclaim was not filed within the time set
 8   by law. To succeed on this defense, SGI must prove that there is a statute of
 9   limitations applicable to a counterclaim for cancellation of trademarks for lack of use
10   in interstate commerce. SGI has not provided any evidence that such a statute of
11   limitations exists, and FGF Brands knows of none.
12   VI. FGF BRANDS’ LIST OF, AND POSITION ON, ANTICIPATED
     EVIDENTIARY ISSUES
13
           In accordance with the Court’s Scheduling Order, FGF Brands’ Motions in
14
     Limine were filed on August 30, 2013. Those motions include:
15
                1. Defendant FGF Brands, Inc.’s Motion in Limine No. 1 to Preclude the
16
                   Introduction of SGI’s Sales Data After November 2009
17
                2. Defendant FGF Brands, Inc.’s Motion in Limine No. 2 to Preclude the
18
                   Introduction of Documents Regarding Los Angeles Tourism
19
           Plaintiff and Counterclaim Defendant SGI has not filed any motions in limine.
20
     VII. FGF BRANDS’ LIST OF, AND POSITION ON, ISSUES OF LAW
21   GERMANE TO THE CASE
22         Without affirmative proof of use in interstate commerce, SGI’s federal marks
23   are void ab initio: To obtain a federal trademark registration, a party must use its mark
24   in interstate commerce. See Trademark Manual of Examining Procedure §§ 901,
25   901.1. And it is black letter law that a registration that does not meet the “use”
26   requirement at the time of registration is void and subject to cancellation. Aycock
27   Eng’g., Inc. v. Airflite, Inc., 560 F.3d 1350, 1357 (Fed. Cir. 2009); Premier Pool
28   Mgmt. Corp. v. Lusk, No. S–11–2896 GEB CKD, 2012 WL 1593206, at *6 (E.D. Cal.

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 1   May 4, 2012) (finding federal registration was subject to cancellation where mark was
 2   used only in intrastate commerce at the time of registration). SGI is a chain of seven
 3   restaurants, located solely in Southern California, and at the time of its first federal
 4   trademark registration, Plaintiff had only two restaurant locations. SGI’s federal
 5   registrations issued in 2004 and 2009. Yet SGI admitted, through its Federal Rule of
 6   Civil Procedure 30(b)(6) corporate designee, that (1) it has no records of any
 7   customers from outside of California visiting its restaurants in 2002, 2003, 2004 or at
 8   any time prior to 2009; (2) it has never provided any catering services outside of
 9   California; (3) it has no records of anyone visiting its website from outside of
10   California from any time prior to 2010; and (4) it has no knowledge of any advertising
11   reaching an audience outside of California prior to 2009. (See 4/25/13 Lopez 30(b)(6)
12   Dep. Tr. at 17:2-18:21, 19:5-15; 3/5/13 Lopez Dep. Tr. at 11:15-17, 25:25-26:24 ).
13          In connection with its opposition to FGF Brands’ summary judgment motion,
14   SGI’s only evidence of purported “use in interstate commerce” were its general sales
15   figures and Los Angeles tourism statistics. It is irrelevant how much money SGI has
16   made at its Southern California restaurants or how many tourists have visited the Los
17   Angeles area because neither SGI’s general sales figures nor general tourism statistics
18   are evidence that SGI actually used its mark in interstate commerce prior to the dates
19   of its federal registrations.
20   VIII. REQUEST FOR BIFURCATION OF ISSUES
21          There is only one issue to be tried, and, accordingly, neither party has moved
22   for bifurcation of any issue for trial.
23   IX.    ISSUES TO BE TRIED TO THE JURY AND COURT
24          There are no remaining issues triable to a jury as a matter of right pending in
25   this litigation. The only issue, FGF Brands’ counterclaim for cancellation of SGI’s
26   federal marks for lack of use in interstate commerce, seeks an equitable remedy and is
27   thus triable to the court.
28

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 1   X.    ABANDONED CLAIMS AND AFFIRMATIVE DEFENSES
 2         FGF Brands, Inc. has no reason to pursue its affirmative defenses to the claims
 3   in SGI’s First Amended Complaint (Dkt. No. 31-1) in light of the Court’s August 6
 4   Order Granting FGF Brands’ Motion for Summary Judgment as to all of Plaintiff’s
 5   claims (Dkt. Nos. 185, 186) and finding that there is no likelihood of confusion
 6   between Plaintiff’s “Stonefire Grill” marks and FGF Brands’ use of its federally
 7   registered “Stonefire” mark. The Court’s Order Granting Summary Judgment
 8   disposed of the entirety of SGI’s claims laid out in its First Amended Complaint. FGF
 9   Brands takes the position that a number of SGI’s affirmative defenses are inapplicable
10   to FGF Brands’ pending counterclaim.
11
12
13   DATED: September 9, 2013                   KIRKLAND & ELLIS LLP
14
15                                              By:      /s/ Allison W. Buchner
                                                      Diana M. Torres
16                                                    Allison W. Buchner
17                                                    Attorneys for Defendant
                                                      FGF BRANDS, INC.
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